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                         DISTRICT COURT OF THE VIRGIN ISLANDS
                          DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES,                             )
                                           )
                    Plaintiff,             )
                                           )
                    v.                     )     Case No. 3:17-cr-0019
                                           )
JAMAL HAYNES,                              )
                                           )
                    Defendant.             )
                                           )
                                           )
UNITED STATES,                             )
                                           )
                    Plaintiff,             )
                                           )
                    v.                     )     Case No. 3:17-cr-0042
                                           )
JAMAL HAYNES,                              )
                                           )
                    Defendant.             )
                                           )

ATTORNEYS:

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                                    MEMORANDUM OPINION1

MOLLOY, J.

        BEFORE THE COURT is the motion of Jamal Haynes (“Haynes”) for compassionate

release. (Case Number 3:17-cr-0019, ECF No. 420; Case Number 3:17-cr-0042, ECF No. 9.)

For the reasons stated below, the Court will deny Haynes’ motion.

                           I. FACTUAL AND PROCEDURAL HISTORY

        Haynes is a 42-year old African American male who suffers from several medical

conditions. On October 30, 2017, in Case Number 3:17-cr-0019, Haynes pled guilty to

conspiracy to possess with intent to distribute cocaine for his involvement in a drug

trafficking organization. On the same day, in Case Number 3:17-cr-0042, Haynes also pled

guilty to conspiracy to possess with intent to distribute cocaine for his involvement in a

second, separate drug trafficking organization. Thereafter, on April 5, 2018, Haynes was

sentenced to a term of imprisonment of 135 months in Case Number 3:17-cr-0019 and a

term of imprisonment of 78 months in Case Number 3:17-cr-0042, such terms to be served

concurrently.

        On June 16, 2020, Haynes filed a motion for compassionate release. See ECF No. 420.

In his motion, Haynes asserts that he suffers from obesity, diabetes, hypertension, and

chronic kidney disease. Id. at 2. Haynes argues that, if he were to contract COVID-19, he is at

an increased risk of severe illness due to his medical conditions. Haynes argues that this




1 Unless otherwise stated, the CM/ECF docket numbers cited in this order correspond to the docket numbers
in Case Number 3:17-cr-0019.
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increased risk presents an extraordinary and compelling reason to warrant relief under

18 U.S.C. § 3582(c)(1)(A).

        On June 30, 2020, the United States filed an opposition to Haynes’ motion for

compassionate release. See ECF No. 421. In its opposition, the United States argues that the

Court is barred from considering Haynes’ motion for compassionate release due to his failure

to exhaust his administrative remedies. Id. at 7-10. The United States also argues that, even

if Haynes has exhausted his administrative remedies, he has not shown that extraordinary

and compelling reasons warrant his release. Id. at 11-12.

        On July 10, 2020, the Court entered an order holding Haynes’ motion for

compassionate release in abeyance pending supplementation of the record. See ECF No. 422.

In so doing, the Court found that Haynes had exhausted the requirements of 18 U.S.C.

§ 3582(c)(1): that is, Haynes had filed his motion for compassionate release after the lapse

of 30 days from the receipt by the warden of the Federal Correctional Institution in Jesup,

Georgia (“FCI Jesup”), the facility where Haynes is presently incarcerated, of his request that

the Bureau of Prisons (“BOP”) move for compassionate release on his behalf. See id. at 5.2

        Thereafter, upon Haynes’ motion, the Court appointed counsel to represent Haynes

in this matter. On August 14, 2020, Haynes filed additional briefing and evidence in support

of his motion for compassionate release. See ECF Nos. 442, 443.




2On July 15, 2020, the United States filed a motion for reconsideration arguing that Haynes was required to
appeal the warden’s denial of his request that the BOP move for a reduction in sentence/compassionate release
pursuant to Section 3582(c)(1)(A) on his behalf. On July 16, 2020, the Court denied the United States’ motion.
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       On September 16, 2020, the Court held an evidentiary hearing in this matter at which

Haynes and the United States presented evidence and argument in support of their

respective positions.

                                          II. LEGAL STANDARD

       Title 18, Section 3582 of the United States Code (“Section 3582”) provides in

pertinent part that

       (A) the court, . . . upon motion of the defendant after the defendant has fully exhausted
       all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
       on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by
       the warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment . . ., after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that—
            (i) extraordinary and compelling reasons warrant such a reduction; . . .
            ...
       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission.
18 U.S.C. § 3582(c)(1).

       The Third Circuit has explained that, before a defendant may file a motion for

compassionate release pursuant to Section 3582(a)(1)(A), either (1) the BOP must have had

30 days to consider the defendant’s request that the BOP move for compassionate release on

his behalf, or (2) the defendant must administratively exhaust an adverse decision by the

BOP in response to that defendant’s request within that time period. See United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020). Failure to comply with Section 3582(c)(1)(A)’s exhaustion

requirement “presents a glaring roadblock foreclosing compassionate release.” See id.

       Once a defendant has met Section 3582(c)(1)(A)’s exhaustion requirement, “a district

court ‘may reduce [a federal inmate's] term of imprisonment’ and ‘impose a term of

probation or supervised release . . . if it finds that . . . extraordinary and compelling reasons
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warrant such a reduction.’” United States v. Pawlowski, 967 F.3d 327, 329 (3d Cir. 2020)

(quoting 18 U.S.C. § 3582(c)(1)(A)(i)). “But before granting compassionate release, a district

court must ‘consider[ ] the factors set forth in [18 U.S.C. §] 3553(a) to the extent that they

are applicable.’” Id. “Those factors include, among other things, ‘the history and

characteristics of the defendant’ and ‘the need for the sentence imposed . . . to reflect the

seriousness of the offense, to promote respect for the law, . . . to provide just punishment for

the offense[, and] . . . to afford adequate deterrence to criminal conduct.’” Id. at 330 (citations

omitted).

       In addition, the United States Sentencing Commission has issued a policy statement

addressing the reduction of sentences pursuant to Section 3582(c)(1)(A). That statement

provides that a court may reduce a term of imprisonment if, after considering the factors set

forth in 18 U.S.C. § 3553(a), the court determines that (1) “extraordinary and compelling

reasons warrant the reduction”; (2) “the defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g)”; and (3) “the reduction is

consistent with this policy statement.” U.S.S.G. § 1B1.13. Application Note 1 to that policy

statement sets forth several circumstances under which the Sentencing Commission has

determined “extraordinary and compelling reasons” exist. Such circumstances include

certain medical, age-related, or family circumstances and a catchall provision—“Other

reasons — As determined by the Director of the Bureau of Prisons, there exists in the

defendant's case an extraordinary and compelling reason other than, or in combination with,

the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 cmt. n. 1(D).
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        The defendant has the burden to show he is entitled to a sentence reduction pursuant

to Section 3582(c)(1). Cf. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016) (noting that

the defendant has the burden of establishing that he is eligible for a sentence reduction under

18 U.S.C. § 3582(c)(2)); United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992) ("A party

with an affirmative goal and presumptive access to proof on a given issue normally has the

burden of proof as to that issue.").

                                               III. ANALYSIS

    A. Exhaustion of Administrative Remedies

        In the Court’s July 10, 2020 Order, the Court found that Haynes has satisfied Section

3582(c)(1)(A)’s exhaustion requirement.3 As such, the Court will consider the merits of

Haynes’ petition.

    B. Extraordinary and Compelling Reasons

        Haynes argues that his circumstances present extraordinary and compelling reasons

warranting a reduction in sentence because he suffers from several health conditions that

the Center for Disease Control ("CDC") has identified as increasing the risk of serious illness

and death from COVID-19 should he contract that disease.




3 Despite the Court’s July 10, 2020 ruling and July 16, 2020 denial of the United States’ motion for
reconsideration, the United States continues to dispute the Court’s conclusion that Haynes’ has satisfied Section
3582(c)(1)(A)’s exhaustion requirement. The United States argues that because the warden at Jesup denied
Haynes’ request, Haynes was required to appeal the warden’s denial pursuant to the BOP’s administrative
remedy process. As the Third Circuit has made abundantly clear, Section 3582 does not require a defendant to
completely exhaust the administrative remedy process. See United States v. Raia, 954 F.3d 594, 595 (3d Cir.
2020); United States v. Harris, No. 20-1723, 2020 U.S. App. LEXIS 27651, at *2 (3d Cir. July 20, 2020). Rather,
“the statute states that the defendant may file the motion thirty days after the warden receives his request.”
Harris, 2020 U.S. App. LEXIS 27651 at *2 (citing Raia, 954 F.3d at 595). Indeed, the Third Circuit has expressly
rejected the argument that “because the Warden denied [a defendant]'s request within thirty days, [the
defendant] was required to completely exhaust the administrative remedy process.” Id.
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       COVID-19 is a highly transmissible and deadly disease which has claimed over

200,000 lives in the United States. As of the date of this order, BOP statistics reveal that there

are currently 0 confirmed active positive cases among inmates and 19 confirmed active

positive cases among staff at FCI Jesup, the facility where Haynes is presently incarcerated.

See COVID-19 Cases: Full breakdown and additional details, https://www.bop.gov

/coronavirus/ (last visited October 2, 2020). Further, 251 inmates and 3 staff have recovered

while 1 inmate has died. Id. FCI Jesup has a total population of 1346 inmates. See FCI Jesup,

https://www.bop.gov/locations/institutions/jes/ (last visited October 2, 2020).

       Significantly, the CDC has identified numerous underlying conditions that place

individuals at an increased risk of severe illness or death if they contract COVID-19. Among

other conditions, obesity, type 2 diabetes, and chronic kidney disease are each identified by

the CDC as conditions that increase the risk of severe illness or death from COVID-19. See

Centers for Disease Control, People With Certain Medical Conditions, available at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last modified September 11, 2020). Further, hypertension is

identified by the CDC as a condition which might increase the risk of severe illness or death

from COVID-19. Id. Here, Haynes has presented medical records from the BOP demonstrating

that he suffers from obesity, type 2 diabetes, hypertension, and chronic kidney disease. See

ECF No. 442-3 at 1; ECF No. 442-4 at 1; ECF No. 442-5 at 1; ECF No. 442-6 at 1-2.

       Where a defendant suffers from health conditions that the Center for Disease Control

("CDC") has identified as increasing the risk of serious illness and death from COVID-19

should he contract that disease, numerous courts have found that the defendant’s health
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conditions and the risks they present in light of the current COVID-19 outbreak constitute

“extraordinary and compelling reasons” that may allow a court to grant compassionate

release. See, e.g., United States v. Sperry, No. CR 18-121, 2020 U.S. Dist. LEXIS 165012, at *4

(W.D. Pa. Sep. 10, 2020); United States v. Davidson, No. 2:16-cr-00139-2, 2020 U.S. Dist. LEXIS

150887, at *57 (W.D. Pa. Aug. 20, 2020); United States v. Collier, No. 2:14-cr-00051, 2020 U.S.

Dist. LEXIS 130426, at *11 (W.D. Pa. July 22, 2020); United States v. Rodriguez, No. 2:03-cr-

00271-AB-1, 2020 U.S. Dist. LEXIS 58718, at *20 (E.D. Pa. Apr. 1, 2020). This Court agrees

that such circumstances are unprecedented and constitute extraordinary and compelling

reasons to warrant a reduction.4

    C. Section 3553(a) Factors

        Nevertheless, before granting compassionate release, the Court must determine

whether the applicable sentencing factors under 18 U.S.C. § 3553(a) warrant a reduction.

First, the need to reflect the seriousness of Haynes’ offense does not support a reduction in

his sentence. In Case Number 3:17-cr-0019, Haynes pled guilty to conspiracy to possess with

intent to distribute at least 50 but less than 150 kilograms of cocaine. In Case Number 3:17-

cr-0042, Haynes pled guilty to conspiracy to possess with intent to distribute at least 3.5 but

less than 5 kilograms of cocaine. These are serious offenses. Indeed, Congress has mandated



4 The existence of these extraordinary and compelling reasons is not diminished by the fact that Haynes
apparently tested positive for COVID-19 and was asymptomatic. Indeed, according to the CDC, "[t]here is no
firm evidence that the antibodies that develop in response to SARS-CoV-2 infection are protective. If these
antibodies are protective, it’s not known what antibody levels are needed to protect against reinfection."
Clinical Questions About COVID-19: Questions and Answers, CDC, https://www.cdc.gov/coronavirus/2019-
ncov/hcp/faq.html (last visited October 2, 2020) (located under the "Are clinically recovered persons
infectious to others if they test persistently or recurrently positive for SARS-CoV-2 RNA?" dropdown tab).
Fortunately, Haynes has apparently recovered from his COVID-19 infection without any complications and was
able to attend the September 16, 2020 evidentiary hearing by video teleconference from FCI Jesup.
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a minimum sentence of ten years for drug trafficking offenses involving 5 or more kilograms

of cocaine. See 21 U.S.C. 841(b)(1)(A). Here, in Case Number 3:17-cr-0019, Haynes was

responsible for 136 kilograms of cocaine—more than 27 times the amount that triggers the

mandatory minimum sentence of ten years. As a highly addictive and destructive drug, this

amount of cocaine has an immensely pernicious impact on society. As such, the Court

concludes that the seriousness of Haynes’ offense weighs heavily against a reduction in

sentence.

       Second, the length of time that Haynes has served in relation to his sentence does not

weigh in favor of his release. See United States v. Pawlowski, 967 F.3d 327, 331 (3d Cir. 2020)

(concluding that the amount of time remaining to be served in an inmate’s sentence is an

appropriate consideration under 18 U.S.C. § 3553(a)). Haynes has served approximately 38

months out of the 135-month term of imprisonment imposed by the Court—less than 30%

of his term of imprisonment. Reducing Haynes’ sentence by more than 70% to a 38-month

sentence would likely undermine the public’s respect for the law and provide inadequate

deterrence for drug trafficking offenses. See, e.g. United States v. Bogdanoff, No. 12-CR-0190-

1, 2020 U.S. Dist. LEXIS 81278, at *13 (E.D. Pa. May 8, 2020) (“[R]educing a sentence by

almost two-thirds could . . . have an impact of the public’s respect for the law and

deterrence.”); United States v. Shayota, No. 1:15-cr-00264-LHK-1, 2020 U.S. Dist. LEXIS

91619, at *6 (N.D. Cal. May 26, 2020) (“’The length of the sentence remaining is an additional

factor to consider in any compassionate release analysis,’ with a longer remaining sentence

weighing against granting any such motion.”). As such, the Court concludes that the need to
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promote respect for the law and afford adequate deterrence to criminal conduct weigh

heavily against a reduction in sentence.

        Third, a reduction in Haynes’ sentence would cause unwarranted disparities between

Haynes’ and his codefendants. In Case Number 3:17-cr-19, the Court sentenced Haynes to

135 months imprisonment. The Court sentenced four of Haynes’ co-defendants who were

involved in the drug-trafficking organization to 168 months (Craig Richardson), 191 months

(Gerald Mercer), 135 months (Makimba Barry), and 160 months (Germaine Hall),

respectively.5 As such, the Court concludes that the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar

conduct weighs against a reduction in sentence.

        Fourth, the Court is not convinced that Haynes would not be a danger to the

community if released. Haynes argues that he is not a danger to the community because the

BOP has evaluated Haynes to be at the BOP’s minimum level of risk for recidivism or violence.

Additionally, Haynes notes that he has participated in at least ten educational courses, has

good work ratings, and has never had any incidents while incarcerated. While the Court is

encouraged by this record, “[t]he relevant statutory criteria . . . require the [Court] to

consider a defendant's history when assessing future dangerousness-including his criminal

record.” United States v. Ward, No. 20-5743, 2020 U.S. App. LEXIS 30955, at *5 (6th Cir. Sep.

29, 2020). In this regard, while Haynes had no criminal history prior to his convictions in

these matters, Haynes was involved in two separate large-scale drug trafficking conspiracies



5 The Court takes judicial notice that two of Haynes’ co-defendants, Craig Richardson and Germaine Hall, have
filed section 3582 motions for compassionate release. These motions remain pending.
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during overlapping time periods. Each of these drug trafficking conspiracies were

responsible for smuggling a substantial amount of cocaine from St. Thomas into the

continental United States. Given these circumstances, the Court finds that Haynes’

rehabilitative efforts are not sufficient to demonstrate that he would no longer pose a danger

to the community if released. As such, the Court concludes that this factor weighs neither for

nor against Haynes.

       The Court is sympathetic to Haynes’ concerns regarding his risk of serious illness or

death if he contracts COVID-19. Indeed, imprisoned persons are at greater risk of contracting

the virus because they live in close quarters, inhabit communal spaces for eating, and are

often in close contact with other people. See, e.g., United States v. Perez, No. 15-cr-02874-BAS-

1, 2020 U.S. Dist. LEXIS 118613, at *8 (S.D. Cal. July 6, 2020) (“Those in custody, by virtue of

their close proximity, are at greater risk of contagion.”). “Yet that cannot mean that all

individuals in custody, regardless of their exposure, risk, or criminal background, should be

released under the ‘extraordinary and compelling’ reasons section of the compassionate

release provisions.” Id. Notwithstanding that Haynes is in several high-risk categories and

contracted COVID-19 while in the custody of the BOP, none of the section 3553(a) factors

weigh in favor of reducing his sentence. As such, the Court is not persuaded the substantial

reduction in Haynes’ term of imprisonment that would be required to grant him

compassionate release is warranted.

                                          IV. CONCLUSION

       While Haynes has certainly demonstrated an extraordinary and compelling reason

for this Court to consider his request for compassionate release, the Court concludes that,
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upon weighing the applicable factors listed in section 3553(a), release is not warranted. For

the reasons stated above, the Court will deny Haynes’ motion for compassionate release. An

appropriate Order follows.



Dated: October 2, 2020                                   /s/ Robert A. Molloy
                                                         ROBERT A. MOLLOY
                                                         District Judge
